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                 IN THE UNITED STATES DISTRICT COURT
               FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                          SOUTHERN DIVISION

CHERISH D. SHERRILL                                                        PETITIONER

v.                                                   Criminal No. 1:12cr33-LG-RHW-1
                                                        Civil Action No. 1:13cv426-LG

UNITED STATES OF AMERICA                                                   RESPONDENT


                       CERTIFICATE OF APPEALABILITY

        A final order adverse to the applicant having been filed in the captioned

habeas corpus case, in which the detention complained of arises out of process

issued by a state court or a proceeding pursuant to 28 U.S.C. § 2255, the court,

considering the record in the case and the requirements of 28 U.S.C. § 2253, Rule

22(b) of the Federal Rules of Appellate Procedure, and Rule 11(a) of the Rules

Governing Section 2254 Cases in the United States District Courts, hereby finds

that:


         X A Certificate of Appealability should not issue. The applicant has failed
        to make a substantial showing of the denial of a constitutional right.

             A Certificate of Appealability should issue for the following specific
        issue(s):


        SO ORDERED AND ADJUDGED this the 6th day of March, 2014.


                                                s/   Louis Guirola, Jr.
                                                LOUIS GUIROLA, JR.
                                                CHIEF U.S. DISTRICT JUDGE
